 Case: 6:23-cv-00148-KKC         Doc #: 50     Filed: 05/29/25     Page: 1 of 3 - Page ID#:
                                             2682



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION
                                    LONDON

 THE MONTICELLO BANKING                                      CIVIL ACTION
 COMPANY, et al.,                                         NO. 6:23-cv-00148-KKC
       Plaintiffs,

 v.                                                         OPINION & ORDER

 CONSUMER FINANCIAL
 PROTECTION BUREAU, et al.,
       Defendants.



                                          *** *** ***

       This matter is before the Court on the motion (DE 49) by defendant Consumer

Financial Protection Bureau (“CFPB”) to stay this action while the CFPB conducts a new

rulemaking to reconsider the Small Business Lending Rule (“the Rule”), which was issued on

March 30, 2023, and is the rule that the plaintiffs challenge in this action. See 12 C.F.R. §

1074.1(a). In the motion, the CFPB indicates that the Plaintiffs do not consent to the

requested stay.

       With Plaintiffs’ initial complaint in this action, they asserted that the Rule is invalid

because (I) the CFPB’s statutory method of funding is unconstitutional, (II) the CFPB acted

in excess of its statutory authority by adding to the specific types of data that lenders are

required to collect and report, (III) the CFPB acted arbitrarily and capriciously by failing to

consider comments by regulated entities, (IV) the CFPB’s assessment of the Rule’s costs and

benefits was unreasonable, and (V) the Rule violates the First Amendment. (DE 1.)

       The first four of those claims were already being litigated in a Texas district court in

an action brought by the Texas Bankers Association against the CFPB. See Texas Bankers
 Case: 6:23-cv-00148-KKC          Doc #: 50     Filed: 05/29/25   Page: 2 of 3 - Page ID#:
                                              2683



Association, et al. v. Consumer Financial Protection Bureau, et al., Civil Action No. 7:23-CV-

144 (S.D. Texas filed April 26, 2023). On the CFPB’s motion, this Court stayed this action

under the first-to-file rule pending a final judgment by the Texas district court. (DE 33, Stay

Order.) On September 23, 2024, the Texas district court entered a final judgment dismissing

the Texas bankers’ action with prejudice. The bankers have appealed that judgment to the

Fifth Circuit Court of Appeals.

       Plaintiffs in this action then moved to file an amended complaint explaining that the

tendered amended complaint “removes the claims previously alleged in Counts I through IV

and expands Court V . . . .” (DE 37.) The Court granted that motion. Accordingly, the

operative complaint in this matter is the First Amended Complaint and the sole claim before

the Court is the claim that is designated “Count 5” in that complaint. See Parry v. Mohawk

Motors of Michigan, Inc., 236 F.3d 299, 306-07 (6th Cir. 2000) (stating a plaintiff’s amended

complaint supersedes all previous complaints and becomes the operative complaint).

       By prior order, the Court granted the CFPB’s motion for an extension of 90 days to

respond to the Amended Complaint. This was because the CFPB’s new leadership had

directed CFPB counsel “not to make any filings or appearances in litigation except to seek a

pause in proceedings, unless approved by the Bureau’s new leadership.” The Court stayed

this action until May 30, 2025 and ordered the CFPB to file a response to Plaintiffs’ Amended

Complaint by that date. The Court further ordered that the deadlines for Plaintiffs in this

action to comply with the Rule were stayed until further orders of the Court.

       Because of the imminent deadline for the CFPB to file a response to the Amended

Complaint, the Court hereby ORDERS that this action is STAYED until the Court issues an

order resolving this motion to stay. The Court further hereby ORDERS that the current May

30, 2025 deadline for the CFPB to file a response to the Amended Complaint is VACATED.

The Court will set a new deadline, if appropriate, by subsequent order.

                                               2
Case: 6:23-cv-00148-KKC      Doc #: 50     Filed: 05/29/25   Page: 3 of 3 - Page ID#:
                                         2684



    This 29th day of May, 2025.




                                          3
